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                       UNITED STATES DISTRICT COURT
                                 FOR THE
                           DISTRICT OF VERMONT


Gerald Whitaker,
Kathryn Whitaker,

            Plaintiff(s),

            v.                                      Civil Action No. 2:20-cv-120

Martin Kasofsky,

            Defendant.


                                     ORDER


      On or before November 18, 2020, Defendant shall return executed his

Magistrate Judge Assignment Form in accordance with Local Rule 73(c).

      Dated at Burlington, in the District of Vermont, this 5th day of

November 2020.



                                             /s/ John M. Conroy            .
                                             John M. Conroy
                                             United States Magistrate Judge
